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                                               1 Marissa Warren, Esq., State Bar No. 249583
                                                    Brian R. Hill, Esq., State Bar No. 117151
                                               2 Joshua S. Hopps, Esq., State Bar No. 334432
                                                    LA FOLLETTE, JOHNSON, DeHAAS, FESLER & AMES
                                               3 2677 North Main Street, Suite 901
                                                    Santa Ana, California 92705-6632
                                               4 Telephone (714) 558-7008 • Facsimile (714) 972-0379
                                                    Email: Mwarren@ljdfa.com
                                               5 Email: jhopps@ljdfa.com
                                                    Email: bhill@ljdfa.com
                                               6
                                                    Attorneys for Defendant
                                               7 CVS PHARMACY
                                               8                           UNITED STATES DISTRICT COURT
LA FOLLETTE, JOHNSON, DeHAAS, FESLER & AMES




                                               9                 CENTRAL - WESTERN DIVISION OF CALIFORNIA
                                              10
                                              11 SHELLY YEE,                                       Case No. 2:21-cv-09179-MWF(JCx)
                                                                                                 Removal from Superior Court of California,
                                              12                  Plaintiff,                     Ventura, Case No. 56-2021-00559376-CU-
                                              13                                                                MM-VTA
                                                           v.
                                              14                                                         MODIFIED ORDER
                                                 CVS PHARMACY, GARFIELD                           STIPULATED PROTECTIVE ORDER
                                              15 BEACH CVS, LLC and DOES 1 TO
                                                 25,
                                              16
                                              17         Defendants.

                                              18
                                              19           Plaintiff SHELLY YEE, (“Plaintiff”), and Defendant, CVS PHARMACY,
                                              20 (“Defendant”) (collectively “the Parties”) through their respective attorneys of
                                              21 record, have requested that the Court approve their Stipulated Protective Order
                                              22 (Docket No. 20).
                                              23      The Court approves the Stipulated Protective Order with the following
                                              24 modifications:
                                              25
                                                           1. The case number in the caption of the first page and in the footer of every
                                              26
                                              27 page is corrected to read: Case No. 2:21-cv-09179-MWF(JCx).
                                              28
                                                                                              -1-
                                                                           MODIFIED ORDER STIPULATED PROTECTIVE ORDER
                                                   Case 2:21-cv-09179-MWF-JC Document 21 Filed 06/24/22 Page 2 of 3 Page ID #:162




                                               1          2. Paragraph 2.1 is corrected to read:

                                               2             Action: SHELLY YEE v. CVS PHARMACY, GARFIELD BEACH CVS,
                                               3
                                                    LLC, et al., Case No. 2:21-cv-09179-MWF(JCx).
                                               4
                                               5          3. Paragraph 3 – which governs the scope of the Stipulated Protective Order

                                               6 – is modified to read as follows:
                                               7
                                                       The protections conferred by this Stipulated Protective Order cover not only
                                               8
                                               9 Protected Material (as defined above), but also (1) any information copied or
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                                              10 extracted from Protected Material; (2) all copies, excerpts, summaries, or
                                              11
                                                 compilations of Protected Material; and (3) any deposition testimony, conversations,
                                              12
                                              13 or presentations by Parties or their Counsel that might reveal Protected Material,
                                              14 other than during a court hearing or at trial.
                                              15
                                                    Any use of Protected Material during a court hearing or at trial shall be governed
                                              16
                                              17 by the orders of the presiding judge. This Stipulated Protective Order does not
                                              18 govern the use of Protected Material during a court hearing or at trial.
                                              19
                                                       4. As the Stipulated Protective Order does not actually attach Exhibit A
                                              20
                                              21 (which is referenced therein as being attached), such exhibit is attached hereto and
                                              22 deemed an attachment to the Stipulated Protective Order.
                                              23
                                                 IT IS SO ORDERED.
                                              24
                                              25 DATED: June 24, 2022
                                                                                             _____________/s/_________________
                                              26                                                Honorable Judge Jacqueline Chooljian
                                                                                                United States Magistrate Judge
                                              27
                                              28
                                                                                          -2-
                                                                       MODIFIED ORDER STIPULATED PROTECTIVE ORDER
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 1

 2                                        EXHIBIT A
 3             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 4

 5   I,   _____________________________            [print   or    type    full   name],     of
 6   _________________ [print or type full address], declare under penalty of perjury that
 7   I have read in its entirety and understand the Stipulated Protective Order that was
 8   issued by the United States District Court for the Central District of California on
 9   June 24, 2022, in the case of SHELLY YEE v. CVS PHARMACY, GARFIELD BEACH
10   CVS, LLC, et al., Case No. 2:21-cv-09179-MWF(JCx). I agree to comply with and to
11   be bound by all the terms of this Protective Order and I understand and acknowledge
12   that failure to so comply could expose me to sanctions and punishment in the nature
13   of contempt. I solemnly promise that I will not disclose in any manner any information
14   or item that is subject to this Protective Order to any person or entity except in strict
15   compliance with the provisions of this Order.
16         I further agree to submit to the jurisdiction of the United States District Court
17   for the Central District of California for the purpose of enforcing the terms of this
18   Protective Order, even if such enforcement proceedings occur after termination of this
19   action. I hereby appoint __________________________ [print or type full name] of
20   _______________________________________ [print or type full address and
21   telephone number] as my California agent for service of process in connection with
22   this action or any proceedings related to enforcement of this Protective Order.
23   Date: ______________________________________
24   City and State where sworn and signed: _________________________________
25

26   Printed name: _______________________________
27

28   Signature: __________________________________
